Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 1 of 31




           Exhibit 7
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 2 of 31

                                                                         36813978




                                                                     Apr 1 2011
                                                                      3:21PM
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 3 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 4 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 5 of 31




                  EXHIBIT 1
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 6 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 7 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 8 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 9 of 31




                  EXHIBIT 2
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 10 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 11 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 12 of 31




                  EXHIBIT 3
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 13 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 14 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 15 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 16 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 17 of 31




                  EXHIBIT 4
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 18 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 19 of 31




                  EXHIBIT 5
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 20 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 21 of 31




                  EXHIBIT 6
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 22 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 23 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 24 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 25 of 31




            EXHIBIT A
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 26 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 27 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 28 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 29 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 30 of 31
Case 1:01-cv-12257-PBS Document 7554-7 Filed 05/20/11 Page 31 of 31
